 Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 1 of 26




            EXHIBIT 2

Defendants’ Proposed Verdict Form
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 2 of 26




                                           Verdict Form

          When answering the following questions and filling out this Verdict Form, please follow

the directions provided throughout the form. Your answer to each question must be unanimous.

Some of the questions contain legal terms that are defined and explained in detail in the Jury

Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of

any legal term that appears in the questions below.




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 3 of 26




          We, the jury, unanimously agree to the answers to the following questions and return

them under the instructions of this Court as our verdict in this case:


                                            QUESTION 1

          For each allegedly infringing video listed below, has Maria Schneider proven by the

preponderance of the evidence that YouTube LLC and Google LLC (“YouTube”) are liable for

(a) direct copyright infringement, (b) contributory copyright infringement, and/or (c) vicarious

copyright infringement as described in Jury Instruction Nos. 41, 43–44?

          If your answer is no for all of Ms. Schneider’s works, you do not need to fill out Table 1.

If your answer is no for all of Ms. Schneider’s works, check this box □, stop, and continue to

Question 6.

          If you find that YouTube infringed some of Ms. Schneider’s works, state, for each

allegedly infringing video, whether Ms. Schneider has proven each theory of liability by the

preponderance of the evidence by writing either Yes (for Ms. Schneider) or No (for YouTube) in

the appropriate box of Table 1. Where a box below has been filled with black, that indicates

there is no direct infringement claim at issue for that work.



                                               Table 1

                                           Q1(a) Direct          Q1(b)
                                                                              Q1(c) Vicarious
                                                             Contributory
                                                                               Please write
                                          Please write       Please write
 Work (Number                                                                 either Yes (for
                         Video No.       either Yes (for    either Yes (for
  of Videos)                                                                  Ms. Schneider)
                                         Ms. Schneider)     Ms. Schneider)
                                                                                 or No (for
                                            or No (for         or No (for
                                                                                YouTube)
                                           YouTube)           YouTube)
   Alchemy (1)                1
                              2
                              3
  Allegresse (4)              4
                              5


2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 4 of 26




                          6
   Anthem (2)
                          7
 Baytrail Shuffle
                          8
       (1)
                      This and the
                    remaining rows
                       to be split
                      according to
                     the number of
 Bird Count (16)
                        allegedly
                       infringing
                    videos actually
                      presented at
                           trial
 Buleria, Solea y
   Rumba (3)
 City Sunrise (3)
  Coot Stew (3)
   Dance You
 Monster to My
 Soft Song (21)
  El Viento (1)
  Evanescence
        (2)
 Green Piece (9)
  Gumba Blue
       (10)
    Gush (2)
  Hang Gliding
       (23)
 Journey Home
        (7)
 Last Season (9)
    Lately (1)
   My Lament
       (10)
  Scenes from
   Childhood -
  Bombshelter
    Beast (9)
  Scenes from
   Childhood -
 Coming About
        (9)


2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 5 of 26




     Scenes from
     Childhood -
         Night
     Watchman (9)
        Sea of
    Tranquility (2)
     Smooth Talk
          (6)
      Sue (or In a
       Season of
      Crime) (27)
     The Grail (1)
         Three
    Romances1 (23)
    Tork’s Café (1)
          If you found YouTube liable for infringing any of Ms. Schneider’s works, continue to

Question 2. If you did not find YouTube liable for infringing any of Ms. Schneider’s works,

continue to Question 6.

                                           QUESTION 2

          Did YouTube prove by a preponderance of the evidence that YouTube is not liable to Ms.

Schneider for infringement because the Publishing Licensing Agreement that Modern Works

Publishing granted to YouTube contained a valid express or implied license for Ms. Schneider’s

works, as described in Jury Instruction Nos. 46 or Jury Instruction No. 47?

          If you found that YouTube proved its express license affirmative defense, its implied

license affirmative defense, or both, check YES (for YouTube). If you found that YouTube did

proved neither its express license affirmative defense nor its implied license affirmative defense,

check NO (for Ms. Schneider).



          Yes (for YouTube)     _____          No (for Ms. Schneider)         _____




1
  The parties dispute whether “Three Romances” is one work or three. Defendants will raise this
issue with the Court before or during trial, then amend this form to conform to the Court’s ruling.

2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 6 of 26




          If you found for YouTube on this question, continue to Question 6. If you found for Ms.

Schneider on this question, proceed to Question 3.



                                           QUESTION 3

          Table 2 contains the same list of allegedly infringing videos as Table 1. You will

provide your answers to Questions 3–5 in Table 2. You only need to answer Questions 3–5

about videos that you found YouTube to have infringed. So, start by crossing out in Table 2 the

rows associated with any videos where you did not find infringement. You will answer

Questions 3–5 for the remaining videos.

          For each of the videos in Table 2, did YouTube prove that YouTube is not liable for

infringement because YouTube had a license under the Terms of Service agreement, as described

in Jury Instruction No. 46?

          Please enter either Yes (for YouTube) or No (for Ms. Schneider) in the appropriate box in

the Table 2 below. You do not need to answer Question 3 where the question is blacked out.

          Please continue to Question 4.



                                           QUESTION 4
          For each of the videos in Table 2, did YouTube prove by a preponderance of the

evidence that Ms. Schneider’s infringement claim is barred because she did not file her lawsuit

within one year of when she knew, or should have known, about the alleged infringement, as

described in Jury Instruction No. X?2

          Please enter either Yes (for YouTube) or No (for Ms. Schneider) in the appropriate box in

the Table 2 below.

          Continue to Question 5.



2
 The parties dispute which limitations period applies. Defendants will raise this issue with the
Court before or during trial, then amend this form to conform to the Court’s ruling.

2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 7 of 26




                                           QUESTION 5

          For each of the videos in Table 2 below, did YouTube prove by a preponderance of the

evidence that the allegedly infringing video made fair use of the work that Ms. Schneider alleges

was infringed, as described in Jury Instruction No. 45?

          Please enter either Yes (for YouTube) or No (for Ms. Schneider) in the appropriate box in

the Table 2 below.

          Please continue to Question 6.



                                               Table 2

                                             Q3: Terms of    Q4: Limitations
                                                                                 Q5: Fair use
                                           Service License        period
                                                                                Please answer
                                            Please answer     Please answer
  Work (Number                                                                 either “Yes” (for
                          Video No.        either “Yes” (for either “Yes” (for
   of Videos)                                                                    YouTube) or
                                             YouTube) or       YouTube) or
                                                                                “No” (for Ms.
                                            “No” (for Ms.     “No” (for Ms.
                                                                                  Schneider).
                                              Schneider).       Schneider).
    Alchemy (1)                1
                               2
                               3
   Allegresse (4)
                               4
                               5
                               6
    Anthem (2)
                               7
  Baytrail Shuffle
                               8
        (1)
                         This and the
                       remaining rows
                           to be split
                       according to the
                           number of
  Bird Count (16)
                            allegedly
                           infringing
                        videos actually
                         presented at
                               trial



2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 8 of 26




  Buleria, Solea y
     Rumba (3)
  City Sunrise (3)
   Coot Stew (3)
     Dance You
   Monster to My
   Soft Song (21)
    El Viento (1)
  Evanescence (2)
  Green Piece (9)
    Gumba Blue
        (10)
      Gush (2)
    Hang Gliding
        (23)
   Journey Home
         (7)
  Last Season (9)
      Lately (1)
  My Lament (10)
    Scenes from
    Childhood -
    Bombshelter
      Beast (9)
    Scenes from
    Childhood -
   Coming About
         (9)
    Scenes from
    Childhood -
        Night
   Watchman (9)
       Sea of
   Tranquility (2)
  Smooth Talk (6)
     Sue (or In a
      Season of
    Crime) (27)
    The Grail (1)
  Three Romances
        (23)
  Tork’s Café (1)




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 9 of 26




                                            QUESTION 6

          You will provide your answers to Questions 6–7 in Table 3, below. For each work that

Uniglobe claims to own, did Uniglobe prove by the preponderance of the evidence that Uniglobe

owns that work, as described in Jury Instruction Nos. 32–33?

          Please answer either Yes (for Uniglobe) or No (for YouTube) in the appropriate box in

Table 3.

          If you found for YouTube on both works, please continue to Question 13. Otherwise,

continue to Question 7.

                                            QUESTION 7
          You only need to answer Question 7 for videos associated with works that you found

Uniglobe owns in Question 6. So, start by crossing out in Table 3 all rows associated with the

names of any works where you did not find that Uniglobe owns the work. You will answer

Question 7 about videos associated with the remaining works.

          For each video listed in Table 3 below that you have not crossed out, has Uniglobe

proven by the preponderance of the evidence that YouTube is liable for (a) contributory

copyright infringement, and/or (b) vicarious copyright infringement, as described in Jury

Instruction Noa. 43 and 44?

          If your answer is no for all of Uniglobe’s works, you do not need to continue filling out

Table 1. If your answer is no for all of Uniglobe’s works, check this box □, stop, and continue

to Question 13.

          If you find that YouTube infringed some of Uniglobe’s works, state, for each allegedly

infringing video, whether Uniglobe has proven either theory of liability by the preponderance of

the evidence by writing either Yes (for Uniglobe) or No (for YouTube) in the appropriate box of

Table 3.

          Please answer either Yes (for Uniglobe) or No (for YouTube) in the appropriate box.




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 10 of 26




                                               Table 3

                                                                    Q7(a):             Q7(b):
                       Q6: Ownership                             Contributory         Vicarious
                                                                 Infringement       Infringement
  Work (Number          Please answer
                                              Video No.
   of Videos)           either Yes (for                          Please answer      Please answer
                       Uniglobe) or No                           either Yes (for    either Yes (for
                       (for YouTube).                           Uniglobe) or No    Uniglobe) or No
                                                                 (for YouTube)      (for YouTube)
                                                   218
   5 Weddings                                      219
  (English) (43)                                   220
                                                    …
                                              This and the
                                            remaining rows
                                               to be split
                                           according to the
   5 Weddings
                                               number of
   (Hindi) (63)
                                                allegedly
                                           infringing videos
                                                actually
                                           presented at trial


        If you found for Uniglobe for any video for Question 7(a) or Question 7(b), please
continue to Question 8. If you found for YouTube on all videos for Question 7(a) and Question
7(b), please continue to Question 13.

                                            QUESTION 8

          Did Uniglobe prove by the preponderance of the evidence that 5 Weddings (Hindi) was a

foreign work, as described in Jury Instruction No. 34? Please check either Yes (for Uniglobe) or

No (for YouTube), below:

          Yes (for Uniglobe)    ______          No (for YouTube)       ______

          Please continue to Question 9.


                                            QUESTION 9

          Did YouTube prove by a preponderance of the evidence that YouTube is not liable to

Uniglobe for infringement because the Content Hosting Services Agreement that ValleyArm

2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 11 of 26




Digital Ltd. granted to YouTube contained a valid license for Uniglobe’s works, as described in

Jury Instruction No. 46?



          Yes (for YouTube)     ______         No (for Uniglobe)     ______

          Please continue to Question 10.



                                            QUESTION 10

          Table 4 contains the same list of videos as Table 3. You will provide your answers to

Questions 10–12 in Table 4. You only need to answer Questions 10–12 for videos that you

found YouTube to have infringed. So, start by crossing out in Table 4 the rows for each video

where you did not find infringement. You will answer Questions 10–12 for the remaining

videos.

          For each video, did YouTube prove that YouTube is not liable for infringement because

YouTube had a license to the work under the Terms of Service agreement, as described in Jury

Instruction No. 46?

          Please enter either Yes (for YouTube) or No (for Uniglobe) in the appropriate blank in

the Table 4 below.

          Please continue to Question 11.



                                            QUESTION 11

          For each of the videos in Table 4, did YouTube prove by a preponderance of the

evidence that Uniglobe’s infringement claim is barred because it did not file its lawsuit within

one year of when it knew, or should have known, about the alleged infringement, as described in

Jury Instruction No. #?

          Please enter either Yes (for YouTube) or No (for Uniglobe) in the appropriate blank in

the Table 4 below.

          Please continue to Question 12.

2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 12 of 26




                                            QUESTION 12

          For each of the videos in Table 4 below, did YouTube prove by a preponderance of the

evidence that the allegedly infringing video made fair use of the work that Uniglobe alleges was

infringed by that video, as described in Jury Instruction No. 45?

          Please enter either Yes (for YouTube) or No (for Uniglobe) in the appropriate blank in

the Table 4 below.

          Please continue to Question 13.

                                                Table 4

                                             Q10: Terms of      Q11: Limitations
                                                                                     Q12: Fair Use
                                               Service               Period
                                                                                     Please answer
  Work (Number                               Please answer       Please answer
                          Video No.                                                 either “Yes” (for
   of Videos)                               either “Yes” (for   either “Yes” (for
                                                                                      YouTube) or
                                              YouTube) or         YouTube) or
                                                                                        “No” (for
                                                “No” (for           “No” (for
                                                                                       Uniglobe).
                                               Uniglobe).          Uniglobe).

                              218

   5 Weddings                 219
  (English) (43)
                              220
                              …
                          This and the
                        remaining rows
                           to be split
                       according to the
   5 Weddings
                           number of
   (Hindi) (63)
                            allegedly
                       infringing videos
                            actually
                       presented at trial




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 13 of 26




                                            QUESTION 13

          You will provide your answers to Questions 13–14 in Table 5, below. For each work

that AST claims to own, did AST prove by the preponderance of the evidence that AST owns

that work, as described in Jury Instruction No. 32?

          Please answer either Yes (for AST) or No (for YouTube) in the appropriate box in

Table 5.

          If you found for YouTube on all works, please continue to Question 19. Otherwise,

continue to Question 14.



                                            QUESTION 14
          For each work in Table 5 below, did AST prove by the preponderance of the evidence

that the work was a foreign work, as described in Jury Instruction No. 34?

          Please answer either Yes (for AST) or No (for YouTube) in Table 5 below. You only

need to answer Question 13 for works where you found, in Question 12, that AST owns the

work.

          Please continue to Question 15.




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 14 of 26




                                              Table 5

                                          Q12: Ownership               Q13: Foreign work?

               Work                 Please answer either “Yes”      Please answer either “Yes”
                                      (for AST) or “No” (for          (for AST) or “No” (for
                                            YouTube).                       YouTube).
          My Children (11)
   Zuleikha Opens Her Eyes
              (37)
      Children’s Book (4)
  History of the Russian State
              (23)
       Nutty Buddha (16)
  Pelagia and the Red Rooster
               (6)
 Life of Wonderful People and
          Animals (1)
  Pelagia and the Red Rooster
               (6)
         Spy Novel (1)
   #Selfmama - Lifehacks for
    the Working Mother (6)


                                          QUESTION 15

          Table 6 contains the same list of works as Table 5. You will provide your answers to

Question 15 in Table 6. You only need to answer Question 15 for videos associated with works

that you found are both owned by AST and also foreign works. So, start by crossing out in

Table 6 all rows associated with any works where you did not find ownership and where you did

not find the work to be a foreign work. You will answer Question 15 for videos associated with

the remaining works.

          For each video for each work that you have not crossed out in Table 6 below, has AST

proven by the preponderance of the evidence that YouTube is liable for (a) direct copyright

infringement, (b) contributory copyright infringement, and/or (c) vicarious copyright

infringement?


2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 15 of 26




          If your answer is no for all of AST’s works, you do not need to continue filling out Table

15. If your answer is no for all of Uniglobe’s works, check this box □, stop, and continue to

Question 19.

          If you find that YouTube infringed some of AST’s works, state, for each allegedly

infringing video, whether AST has proven any theory of liability by the preponderance of the

evidence by writing either Yes (for Uniglobe) or No (for YouTube) in the appropriate box of

Table 6.


                                               Table 6

                                                                  Q1(b)
                                             Q1(a) Direct                         Q1(c) Vicarious
                                                                Contributory
  Work (Number                              Please write                           Please write
                          Video No.                             Please write
   of Videos)                              either Yes (for                        either Yes (for
                                                               either Yes (for
                                           AST) or No (for                        AST) or No (for
                                                               AST) or No (for
                                             YouTube)                               YouTube)
                                                                 YouTube)
  My Children                 283
       (11)                   219
 Zuleikha Opens               220
  Her Eyes (37)               221
 Children’s Book              222
        (4)                   223
  History of the              224
  Russian State               225
       (23)                   226
  Nutty Buddha                227
       (16)
 Pelagia and the
 Red Rooster (6)
     Life of
   Wonderful
   People and
   Animals (1)                228
 Pelagia and the
 Red Rooster (6)
  Spy Novel (1)
  My Children
       (11)



2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 16 of 26




                        This and the
                      remaining rows
                         to be split
                     according to the
 Zuleikha Opens
                         number of
  Her Eyes (37)
                          allegedly
                     infringing videos
                          actually
                     presented at trial

 Children’s Book
       (4)

   History of the
  Russian State
      (23)

  Nutty Buddha
      (16)


 Pelagia and the
 Red Rooster (6)

     Life of
   Wonderful
   People and
   Animals (1)

 Pelagia and the
 Red Rooster (6)



  Spy Novel (1)

   #Selfmama -
 Lifehacks for the
 Working Mother
        (6)




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 17 of 26




                                            QUESTION 16

          Table 7 contains the same list of videos as Table 6. You will provide your answers to

Questions 16–18 in Table 7. You only need to answer Questions 16–18 for videos that you

found YouTube to have infringed. So, start by crossing out in Table 7 the rows associated with

any videos where you did not find infringement in Table 6. You will answer Questions 16–18

for the remaining videos.

          For each video, did YouTube prove that YouTube is not liable for infringement because

YouTube had a license under the Terms of Service agreement, as described in Jury Instruction

No. 46?

          Please enter either Yes (for YouTube) or No (for AST) in the appropriate blank in the

Table 7 below.

          Please continue to Question 17.



                                            QUESTION 17
          For each of the videos in Table 7, did YouTube prove by a preponderance of the

evidence that AST’s infringement claim is barred because it did not file its lawsuit within one

year of when it knew, or should have known, about the alleged infringement, as described in Jury

Instruction No. #51?

          Please enter either Yes (for YouTube) or No (for AST) in the appropriate blank in the

Table 7 below.

          Please continue to Question 18.

                                            QUESTION 18

          For each of the videos in Table 7 below, did YouTube prove by a preponderance of the

evidence that the allegedly infringing video made fair use of the work that AST alleges the video

infringed, as described in Jury Instruction No. 45?

          Please enter either Yes (for YouTube) or No (for AST) in the appropriate box in the

Table 7 below.

2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 18 of 26




          Please continue to Question 19.



                                               Table 7

                                             Q16: Terms of       Q17: Limitations
                                                                                      Q18: Fair use
                                               Service               Period
  Work (Number                                                                        Please answer
                           Video No.          Please answer       Please answer
   of Videos)                                                                        either “Yes” (for
                                             either “Yes” (for   either “Yes” (for
                                                                                       YouTube) or
                                               YouTube) or         YouTube) or
                                                                                     “No” (for AST).
                                             “No” (for AST).     “No” (for AST).
   My Children                 283
   (11)Zuleikha
 Opens Her Eyes                219
       (37)
 Children’s Book               220
        (4)
  History of the               221
   Russian State
       (23)                    222
  Nutty Buddha
       (16)                    223
  Pelagia and the
 Red Rooster (6)               224
      Life of
    Wonderful                  225
    People and
    Animals (1)                226
  Pelagia and the
 Red Rooster (6)               227
  Spy Novel (1)
                               228
 My Children (11)
                           This and the
                         remaining rows
                            to be split
                        according to the
  Children’s Book
                            number of
        (4)
                             allegedly
                        infringing videos
                             actually
                        presented at trial




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 19 of 26




     History of the
     Russian State
          (23)
     Nutty Buddha
          (16)
    Pelagia and the
    Red Rooster (6)
        Life of
      Wonderful
      People and
      Animals (1)
    Pelagia and the
    Red Rooster (6)
     Spy Novel (1)
      #Selfmama -
    Lifehacks for the
    Working Mother
           (6)
      My Children
          (11)


                                                 QUESTION 193

          You only need to answer this Question 19 if you found that YouTube infringed at least

one work for which YouTube could not prove an affirmative defense. If you did not find that

YouTube infringed no works, or if you found that YouTube proved an affirmative defense to

every instance of infringement that the plaintiffs proved, please continue to Question 25.
          Did YouTube establish by a preponderance of the evidence the affirmative defense

entitled Limitation on Liability for Information Residing on Systems of Networks at Direction of

Users (17 U.S.C. § 512(c)), as described in Jury Instruction No. 48?



          Please answer either Yes (for YouTube) or No (for Plaintiffs) here: ______

          If you found for YouTube, please continue to Question 25. If you found for the plaintiffs,

please continue to Question 20.

3
 Questions 19 and 20 correspond to the DMCA safe harbor defense. If a class is certified, Defendants intend to
present this defense at trial. If a class is not certified, Defendants intend not to present this defense at trial.

2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 20 of 26




                                            QUESTION 20

          Did YouTube establish by a preponderance of the evidence the affirmative defense

entitled Limitation on Liability for Information Location Tools (17 U.S.C. § 512(d)), as

described in Jury Instruction No. 49?



          Please answer either Yes (for YouTube) or No (for Plaintiffs) here: ______

          If you found for YouTube, please continue to Question 25. If you found for the plaintiffs,

please continue to Question 21.


                                            QUESTION 21

          This Question 21 applies only to Ms. Schneider’s infringement claims and to Uniglobe’s

infringement claim for 5 Weddings (English version). If you found that YouTube is liable for

infringing at least one of these works and that YouTube has not proven its affirmative defenses

with respect to these works, you must answer this Question 21. If you found that YouTube is not

liable for infringing Ms. Schneider’s works or Uniglobe’s 5 Weddings (English version), or that

YouTube proved its affirmative defenses with respect to these works, please continue to

Question 25.

          Consider only 5 Weddings (English version) and Ms. Schneider’s works where you found

that YouTube infringed and where you did not find that YouTube proved an affirmative defense.

Did YouTube prove by a preponderance of the evidence that its infringement of the works was

innocent, as described in Instruction 56?



          Yes (for YouTube)     _____           No (for Plaintiffs)   _____

          If you found for YouTube, continue to Question 23. If you found for the plaintiffs,

continue to Question 22.



2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 21 of 26




                                            QUESTION 22

          Consider only 5 Weddings (English version) and Maria Schneider’s works where you

found that YouTube infringed and where you did not find that YouTube proved an affirmative

defense. Did the plaintiffs prove by a preponderance of the evidence that its infringement of the

works was willful, as described in Instruction 57?



          Yes (for plaintiffs)   _____         No (for YouTube)       _____

          Please continue to Question 23.



  Special note regarding Questions 21 and 22: You cannot answer Yes to both questions.


                                            QUESTION 23

          If you find for Ms. Schneider on any of her infringement claims or for Uniglobe on any

of its claims related to 5 Weddings (English version), you must determine the amount of statutory

damages to award them. You must set statutory damages within a range set by Congress. The

range is between $750 and $30,000 for each work that you determine was infringed.

          However, if in Question 21, you found that YouTube’s infringement was innocent, you

may award as little as $200 per work infringed. And, if in Question 22, you found that

YouTube’s infringement was willful, you may award as much as $150,000 per work infringed.

          Please do not answer this question for a plaintiff if you have found that YouTube did not

infringe the work of that plaintiff or that YouTube proved an affirmative defense to that

plaintiff’s infringement claims.

          Amount of statutory damages per infringement for Ms. Schneider: $ _________

          Amount of statutory damages per infringement for Uniglobe: $ _________

          Please continue to Question 24.




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 22 of 26




                                            QUESTION 24

          If you find for that YouTube infringed the work of Ms. Schneider, Uniglobe, or AST,

then you must also determine the amount of any profits of the defendants to be awarded to the

plaintiffs. This is separate from statutory damages.

          You must determine the profits to be awarded to the plaintiffs according to Instructions

No. 54.

          For each question below, if you found that YouTube infringed the work of the plaintiff

identified in the question, please answer the question. If you found that YouTube did not

infringe the work of the plaintiff in the question or that YouTube established an affirmative

defense to the plaintiff’s claim for infringement, please write “N/A” for Not Applicable in the

blank provided.


          1. If YouTube infringed any of Ms. Schneider’s works, how much profit was

             attributable to the infringement of Ms. Schneider’s work(s), minus YouTube’s

             expenses and the elements of the profit attributable to factors other than the

             infringement of Ms. Schneider’s work(s)? ______________

          2. If YouTube infringed any of Uniglobe’s works, how much profit was attributable to

             the infringement of Uniglobe’s work(s), minus YouTube’s expenses and the elements

             of the profit attributable to factors other than the infringement of Uniglobe work(s)?

             ______________

          3. If YouTube infringed any of AST’s works, how much profit was attributable to the

             infringement of AST’s work(s), minus YouTube’s expenses and the elements of the

             profit attributable to factors other than the infringement of AST’s work(s)?

             ______________

          Please continue to Question 25.




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 23 of 26




                                            QUESTION 25
          For each work listed below in Table 8, has Ms. Schneider proven by a preponderance of

the evidence that she did not grant YouTube permission to remove CLFN and ISRC codes from

her videos, as described in Jury Instruction No. 60?

          Please answer Yes (for Ms. Schneider) or No (for YouTube) in the appropriate box in

Table 8, below. If a box of the table has been filled with N/A for Not Applicable, please do not

provide an answer for that box. For any work where you answer No, you must cross out that

work and you do not need to answer Questions 26 and 27 for that work.

          Please continue to Question 26.



                                            QUESTION 26

          For the works listed in Table 8 where you answered Yes to Question 25, has Ms.

Schneider proven by the preponderance of the evidence that (1) YouTube distributed, imported

for distribution, or publicly performed recordings containing copies of works owned by Ms.

Schneider, (2) knowing or having reason to know that ISRC codes had been removed from those

recordings, and (3) knowing or having reason to know that it will induce, enable, facilitate, or

conceal copyright infringement, as described in Jury Instruction No. 60?

          If you found that Ms. Schneider proved by the preponderance of the evidence her CMI

claim by meeting the three requirements above, please indicate in the appropriate box in Table 8,

below, the number of times that YouTube committed a CMI violation by transcoding an

uploaded video. If you find that Ms. Schneider failed to meet her burden, please write 0 in the

appropriate box in Table 8, below. If a box of the table has been filled with black, please do not

provide an answer for that box.

          Please continue to Question 27.

                                            QUESTION 27

          For the works listed in Table 8 where you answered Yes to Question 25, has Ms.

Schneider proven that it is more likely than not that YouTube (1) intentionally removed or


2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 24 of 26




altered copyright management information in the CLFN metadata field associated with the work,

(2) knowing that such removal or alteration will induce, enable, facilitate, or conceal copyright

infringement, as described in Jury Instruction No. 60?

          If you found that Ms. Schneider proved by the preponderance of the evidence her CMI

claim by meeting the two requirements above, please indicate in the appropriate box in Table 8,

below, the number of times that YouTube committed a CMI violation by transcoding an

uploaded video. If you find that Ms. Schneider failed to meet her burden, please write 0 in the

appropriate box in Table 8, below. If a box of the table has been filled with black, please do not

provide an answer for that box.

          Please continue to Question 28.


                                               Table 8

                              Q24: Permission

                             Please answer Yes
                            (for Ms. Schneider)       Q25: ISRC Codes         Q26: CLFN Codes
                           or No (for YouTube).
                                                       Please provide the      Please provide the
           Work
                            If you answer No for     number of violations,   number of violations,
                               any work, please       if any, in the empty    if any, in the empty
                             cross out the rest of        boxes below.            boxes below.
                             the row and do not
                           answer Questions 25–
                               26 for that work.
        Alchemy                                                                      N/A
  Dance You Monster                                                                  N/A
    to My Soft Song
      Hang Gliding                                                                   N/A
  Sue (or In a Season                                                                N/A
       of Crime)
   Three Romances -
     Choro Dancado
    A Potter’s Song
 The Thompson Fields                                                                 N/A
       Walking by                                                                    N/A
 Flashlight (Big Band)
       Allegresse                                            N/A

2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 25 of 26




    My Lament                                                 N/A
    Scenes from                                               N/A
    Childhood -
  Bombshelter Beast
      Wyrgly                                                  N/A
   Cerulean Skies                                             N/A
     Sky Blue                                                 N/A


                                            QUESTION 28

          Did YouTube prove by a preponderance of the evidence that any of Ms. Schneider’s

claims relating to the removal of CLFN and ISRC are barred because she did not file her lawsuit

within one year of when she knew, or should have known, about the alleged violation, as

described in Jury Instruction No. #51?



          Please indicate the number of violations, if any, for which YouTube has proven that Ms.

Schneider’s claims for those violations were time barred: ______

          If you found that Ms. Schneider proved any of her CMI violations, and that YouTube did

not prove its affirmative defense relating to the limitations period for all of those violations,

please continue to Question 29. Otherwise, please continue to Question 31.



                                            QUESTION 29

          If you find that Ms. Schneider proved any of her CMI claims by the preponderance of the

evidence, please indicate whether YouTube’s violation of the CMI statute was innocent, as

described in Jury Instruction No. 61.

          Please answer Yes (for YouTube) or No (for Ms. Schneider): ______

          Please continue to Question 30.




2148461
          Case 3:20-cv-04423-JD Document 319-2 Filed 05/11/23 Page 26 of 26




                                            QUESTION 30

          If you find for Ms. Schneider on any of her CMI claims, you must determine the amount

of statutory damages to award her, as described in Jury Instruction No. 61. Congress set the

range for statutory damages between $2,500 and $25,000 for each violation. However, if you

found that YouTube’s CMI violations were innocent, you may award an amount less than $2,500

per violation.

          Amount of statutory damages per CMI violation: $ ____________

          Please continue to Question 31.


                                            QUESTION 31
          Did YouTube prove by the preponderance of the evidence that Pirate Monitor LTD

and/or Mr. Csupó is liable for violating 17 U.S.C. § 512(f), as described in Jury Instruction No.

68?

          Please answer Yes (for YouTube) or No (for the defendant) below.

          Is Pirate Monitor LTD liable for violating 17 U.S.C. § 512(f):     _____

          Is Mr. Csupó liable for violating 17 U.S.C. § 512(f):              _____

          Please continue to Question 32.


                                            QUESTION 32

          If you found that Pirate Monitor LTD and/or Mr. Csupó is liable to YouTube for

violating 17 U.S.C. § 512(f), you must determine the amount of damages to award YouTube, as

described in Jury Instruction No. 69.



          Please state the amount of damages, including costs and attorneys’ fees, that were

incurred by YouTube, as a result of YouTube’s reliance on misrepresentations by Pirate Monitor

LTD and/or Mr. Csupó: ____________



2148461
